                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                AT KNOXVILLE


 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )           NO. 3:20-CR-59
                                                  )
 RANDALL HENRY                                    )
                                                  )



                                          ORDER

        Magistrate Judge C. Clifford Shirley, Jr. filed a report and recommendation (Doc.

 10), recommending that the Court: (1) find that the plea hearing in this case could not be

 further delayed without serious harm to the interests of justice; (2) grant Defendant’s

 motion to withdraw his not guilty plea to Count One of the Information; (3) accept

 Defendant’s plea of guilty to Count One of the Information, that is, false labeling of plants

 (American Ginseng) transported in interstate/foreign commerce and valued over $350, in

 violation of 16 U.S.C. §§ 3372(d)(2), 3373(d)(3)(A)(ii), and 18 U.S.C. § 2; (4) adjudicate

 Defendant guilty of the charge set forth in Count One of the Information; and (5) find that

 Defendant shall be released on his own recognizance until sentencing in this matter.

 Neither party filed a timely objection to the report and recommendation. After reviewing

 the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Doc. 10) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:



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        (1)    As set forth on the record, Defendant’s plea hearing could not be further

 delayed without serious harm to the interests of justice;

        (2)    Defendant’s motion to withdraw his not guilty plea to Count One of the

 Information is GRANTED;

        (3)    Defendant’s plea of guilty to Count One of the Information, that is, false

 labeling of plants (American Ginseng) transported in interstate/foreign commerce and

 valued over $350, in violation of 16 U.S.C. §§ 3372(d)(2), 3373(d)(3)(A)(ii), and 18 U.S.C.

 § 2, is ACCEPTED;

        (4)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count

 One of the Information;

        (5)    Defendant SHALL BE RELEASED on his own recognizance until

 sentencing in this matter, which is scheduled to take place on December 8, 2020 at 2:30

 p.m. before the Honorable Harry S. Mattice, Senior United States District Judge.

        SO ORDERED.

                                           /s/  Harry S. Mattice Jr. _________________
                                           HARRY S. MATTICE, JR
                                           SENIOR UNITED STATES DISTRICT JUDGE
                                           November 4, 2020




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